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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,
                                                              CRIMINAL NO. 07-455(JAG)
        Plaintiff
        v.
ALBERTO CHING DE LA HOZ,
        Defendant.



              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                   RE: RULE 11(c)(1)(B) GUILTY PLEA HEARING

I.      Procedural Background
        On October 26, 2007, defendant Alberto Ching De La Hoz was charged in Count One of a
multi-count indictment. He agrees to plead guilty to that Count.
        Count One charges that Mr. Ching De La Hoz and others, from on or about October 7, 2005,
up to and including July 6, 2006, did knowingly and intentionally conspire and agree with each other
and with other persons to commit an offense against the United States, that is, knowing and in
reckless disregard for the fact that aliens had come to, entered, and remained in the United States in
violation of law, did transport and move said aliens within the United States, by transportation and
otherwise, in furtherance of such violation of law, and, knowing and in reckless disregard of the fact
that an alien has come to, entered, and remains in the United States, conceals, harbors, and shields
from detection such alien, all in violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii),
(iii), and (v)(I) & (a)(1)(B)(i).
        Defendant appeared before me, assisted by the court interpreter, on March 31, 2008, since
the Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th
Cir. 2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
defendant). He was advised of the purpose of the hearing and placed under oath with instructions
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that his answers must be truthful lest he would subject himself to possible charges of perjury or
making a false statement.
II.      Consent to Proceed Before a Magistrate Judge
         Defendant was provided with a Waiver of Right to Trial by Jury form, which he signed. 1
Although the defendant does not read English, he confirmed that his attorney translated the contents
of the form to him. He was advised of his right to hold all proceedings, including the change of plea
hearing, before a district court judge. He received an explanation of the differences between the
scope of jurisdiction and functions of a district judge and a magistrate judge. He was informed that
if he elects to proceed before a magistrate judge, then the magistrate judge will conduct the hearing
and prepare a report and recommendation, subject to review and approval of the district judge,
advising how to proceed. The defendant then voluntarily consented to proceed before a magistrate
judge.
III.     Proceedings Under Rule 11 of the Federal Rules of Criminal Procedure
         Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States
v. Hernandez-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a defendant
who pleads guilty does so with an ‘understanding of the nature of the charge and consequences of
his plea.’” United States v. Cotal-Crespo, 47 F3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United
States, 394 U.S. 459, 467 (1969)). There are three core concerns in a Rule 11 proceeding: 1) absence
of coercion; 2) understanding of the charges; and 3) knowledge of the consequences of the guilty
plea. Cotal-Crespo, 47 F3d at 4 (citing United States v. Allard, 926 F2d 1237, 1244 (1st Cir. 1991)).




         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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       A.      Competence to Enter a Guilty Plea
       This magistrate judge questioned the defendant about his age, education, employment, history
of any treatment for mental illness or addiction, use of any medication, drugs, or alcohol, and his
understanding of the purpose of the hearing, all in order to ascertain his capacity and ability to
understand, answer and comprehend the change of plea colloquy. The court confirmed that the
defendant received the indictment and fully discussed the charges with his counsel, and was satisfied
with the advice and representation he received. The court further inquired whether defendant’s
counsel or counsel for the government had any doubt as to his capacity to plead, receiving answers
from both that the defendant was competent to enter a plea. After considering the defendant’s
responses, and observing his demeanor, a finding was made that Mr. Ching De La Hoz was
competent to plead and fully aware of the purpose of the hearing.
       B.      Maximum Penalties
       Upon questioning, the defendant expressed his understanding of the maximum penalties
prescribed by statute for the offense to which he was pleading guilty, namely: a term of
imprisonment of not more than five (5) years, and a fine of not more than two hundred fifty thousand
dollars ($250,000.00), or both. The defendant also understood he could be sentenced to a term of
supervised release of not more than three (3) years and that a Special Monetary Assessment of
$100.00 would be imposed, per count, to be deposited in the Crime Victim Fund, pursuant to Title
18, United States Code, §3013(a). The court explained the nature of supervised release and the
consequences of revocation. The defendant indicated that he understood the maximum penalties for
Count One and the potential consequences of the guilty plea.
       C.      Plea Agreement
       Mr. Ching De La Hoz was shown the document titled “Plea Agreement”, which is part of the
record, and identified his initials on each page and his signature on the three final pages. He
confirmed that he had the opportunity to read and discuss the Plea Agreement with his attorney
before he signed it, that it represented the entirety of his understanding with the government, that he
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understood its terms, and that no one had made any other or different promises or assurances to
induce him to plead guilty. Although the defendant does not read English, he confirmed that his
attorney translated the Plea Agreement into the Spanish language.
       The defendant was then admonished, pursuant to Fed. R. Crim. P. 11(c)(1)(B), and expressed
his understanding, that the terms of the plea agreement are merely recommendations to the court, and
that the district judge who will preside over the sentencing hearing can reject the recommendation
without permitting the defendant withdraw his guilty plea, and impose a sentence that is more severe
than the defendant might anticipate.
       The parties’ sentencing calculations and recommendations appear in the Plea Agreement, and
were explained in open court. In particular, the agreed upon Base Offense Level (“BOL”) is Twelve
(12) pursuant to U.S.S.G. §2L1.1; a three- level increase is agreed to because the defendant was a
manager or supervisor and the criminal activity involved five or more persons pursuant to U.S.S.G.
§3B1.1(b); pursuant to U.S.S.G. §3E1.1(a), a decrease of two levels is agreed for acceptance of
responsibility. Based on these Guideline sentencing factors, the agreed Total Offense Level is
Thirteen with a Guideline range of twelve to eighteen months imprisonment, assuming a Criminal
History Category of I. The government will recommend a sentence at the lower end the applicable
Guideline range. No stipulation was made as to Criminal History Category. The defendant
confirmed that these were the sentencing recommendations he agreed to with the government.
       The defendant was specifically informed that any sentencing calculations contained in the
Plea Agreement were not binding for the sentencing court, but were only estimates of possible terms
of his sentence, and that the court, after considering the applicable Sentencing Guidelines, could
impose a sentence different from any estimate in the Plea Agreement or provided by his attorney,
and that the court had authority to impose a sentence that is more severe or less severe than the
sentence called for by the Sentencing Guidelines. The defendant was advised, and understood, that
the Sentencing Guidelines are no longer mandatory and are thus considered advisory, and that during
sentencing the court will consider the sentencing criteria found at 18, United States Code, Section
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3553(a).
        The defendant was advised that under some circumstances he or the government may have
the right to appeal the sentence the court imposes. The defendant was further informed, and
professed to understand, that the Plea Agreement contains a waiver of appeal provision under which
the defendant agreed to waive his right to appeal the judgement and sentence if the court accepts the
Plea Agreement and sentences him according to its terms and conditions.
        D.      Waiver of Constitutional Rights
        The defendant was specifically advised that he has the right to persist in a plea of not guilty,
and if he does so persist that he has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial he would be presumed
innocent and the government would have to prove his guilt beyond a reasonable doubt; that he would
have the right to assistance of counsel for his defense, and if he could not afford an attorney the court
would appoint one to represent him throughout all stages of the proceedings; that at trial he would
have the right to hear and cross examine the government’s witnesses, the right to decline to testify
unless he voluntarily elected to do so, and the right to the issuance of subpoenas or compulsory
process to compel the attendance of witnesses to testify on his behalf. He was further informed that
if he decided not to testify or put on evidence at trial, his failure to do so could not be used against
him, and that at trial the jury must return a unanimous verdict before he could be found guilty.
        The defendant specifically acknowledged understanding these rights, and understanding that
by entering a plea of guilty there would be no trial and he will be waiving or giving up the rights that
the court explained. The defendant was informed that parole has been abolished and that any
sentence of imprisonment must be served. Defendant was additionally informed that a pre-sentence
report would be prepared and considered by the district judge at sentencing, and that the defense and
the government would be allowed to correct or object to any information contained in the report
which was not accurate. Defendant was further admonished that his guilty plea, if accepted, may
deprive him of valuable civil rights, such as the right to vote, to hold public office, to serve on a jury,
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and to possess a firearm. The defendant was also advised that his guilty plea, if accepted, could have

negative immigration consequences, such as removal, deportation, and prohibition of re-entry to the

United States. The defendant confirmed that he understood these consequences of his guilty plea.

        E.     Factual Basis for the Guilty Plea
        Defendant was read in open court Count One of the indictment and provided an explanation
of the elements of the offense. The meaning of terms used in the indictment was explained.
        Upon questioning, the government presented to this magistrate judge and to defendant a
summary of the basis in fact for the offense charged in Count One and the evidence the government
had available to establish, in the event defendant elected to go to trial, the defendant’s guilt beyond
a reasonable doubt. The defendant was able to understand this explanation and agreed with the
government’s submission as to the evidence which could have been presented at trial.
F.      Voluntariness
        The defendant indicated that he was not being induced to plead guilty, but was entering such
a plea freely and voluntarily because in fact he is guilty, and that no one had threatened him or
offered him a thing of value in exchange for his plea. He acknowledged that no one had made any
different or other promises in exchange for his guilty plea, other than the recommendations set forth
in the plea agreement. Throughout the hearing the defendant was able to consult with his attorney.
IV.     Conclusion
        The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Count One of the indictment.
        After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Alberto Ching De La is Hoz,
competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
statutory penalties that it carries, understands that the charge is supported by evidence and a basis
in fact, has admitted to the elements of the offense, and has done so in an intelligent and voluntary
manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend that the
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court accept the guilty plea and that the defendant be adjudged guilty as to Count One of the
indictment.
       This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within ten (10) days of its receipt. Failure to file timely and specific objections
to the report and recommendation is a waiver of the right to review by the district court. United
States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
       A sentencing hearing will be set by the presiding district judge.
       IT IS SO RECOMMENDED.
       San Juan, Puerto Rico, this 31st day of March, 2008.




                                               S/Bruce J. McGiverin
                                               BRUCE J. McGIVERIN
                                               United States Magistrate Judge
